Case 2:22-cv-00188-HYJ-RSK          ECF No. 75-5, PageID.4274        Filed 05/15/24       Page 1
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN


 JEFFREY SCHREIBER; RICHARD COLONY;
 KAY VREDEVELD; and MICHAEL SURNOW, CASE NO. 2:22-cv-00188-HYJ-RSK
 individually and on behalf of all others similarly
 situated,
                                                    CLASS ACTION
                       Plaintiffs,
        v.                                          DECLARATION OF
                                                    SCOTT M. FENWICK OF KROLL
                                                    SETTLEMENT ADMINISTRATION LLC
 MAYO FOUNDATION FOR MEDICAL                        IN CONNECTION WITH FINAL
 EDUCATION AND RESEARCH                             APPROVAL OF SETTLEMENT
                       Defendant.                   Date: May 29, 2024
                                                    Time: 9:00 AM
                                                    Dept: 128 Federal Building

                                                    The Hon. Hala Y. Jarbou




 DECL. OF SCOTT M. FENWICK OF KROLL SETTLEMENT
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I, Scott M. Fenwick, declare as follows:

                                               INTRODUCTION

           1.       I am a Senior Director of Kroll Settlement Administration LLC (“Kroll”),1 the

Settlement Administrator appointed in the above-captioned case, whose principal office is located

at 2000 Market Street, Suite 2700, Philadelphia, Pennsylvania 19103. I am over 21 years of age

and am authorized to make this declaration on behalf of Kroll and myself. The following

statements are based on my personal knowledge and information provided by other experienced

Kroll employees working under my general supervision. This declaration is being filed in

connection with final approval of the settlement.

           2.       Kroll has extensive experience in class action matters, having provided services in

class action settlements involving antitrust, securities fraud, labor and employment, consumer, and

government enforcement matters. Kroll has provided notification and/or claims administration

services in more than 3,000 cases.

                                                BACKGROUND

           3.       Kroll was appointed as the Settlement Administrator to provide notification and

claims administration services in connection with that certain Class Action Settlement Agreement

(the “Settlement Agreement”) entered into this Action. Kroll’s duties in connection with the

settlement have and will include: (a) preparing and sending notices in connection with the Class

Action Fairness Act; (b) receiving and analyzing the Class List from Defendant’s Counsel

(c) creating a Settlement Website with online claim filing capabilities; (d) establishing a toll-free

telephone number; (e) establishing a post office box for the receipt of mail; (f) preparing and

sending the Notice via first-class mail; (g) receiving and processing mail from the United States

Postal Service (“USPS”) with forwarding addresses; (h) receiving and processing undeliverable

mail, without a forwarding address, from the USPS; (i) receiving and processing Claim Forms;




1
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
Settlement Agreement as defined below.


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(j) receiving and processing opt outs, and (k) such other tasks as counsel for the Parties or the

Court request Kroll to perform.

                                     NOTICE PROGRAM

The CAFA Mailing

       4.      As noted above, on behalf of the Defendant, Kroll provided notice of the proposed

settlement pursuant to the Class Action Fairness Act, 28 U.S.C. §1715(b) (“the CAFA Notice”).

At Defendant’s Counsel’s direction, on February 23, 2024, Kroll sent the CAFA Notice identifying

the documents required, a true and correct copy of which is attached hereto as Exhibit A, via first-

class certified mail, to (a) the Attorney General of the United States, and (b) the one (1) state

Attorney General, identified in the service list for the CAFA Notice, attached hereto as Exhibit B.

The CAFA Notice directed the Attorneys General to the website www.CAFANotice.com, a site

that contains all the documents relating to the settlement referenced in the CAFA Notice.

Data and Case Setup

       5.      On February 28, 2024, Kroll received two (2) data files from the Defendant. The

first file contained 36,531 customer numbers, names, and mailing addresses for Settlement Class

Members. The second file contained 35,864 customer numbers, names, and mailing addresses for

Settlement Class Members. Kroll undertook several steps to reconcile the two lists and compile

the eventual Class List for the mailing of Notices. This included de-duping and performing a roll-

up of individuals with multiple customer numbers. Following these efforts, Kroll arrived at 62,939

unique customer numbers. After consultation with Class Counsel and Defendant’s Counsel

(collectively “Counsel”), Defendant’s Counsel provided Kroll an additional data file containing

62,746 customer numbers and mailing addresses. Kroll reconciled this data file with the original

two (2) data files to arrive at an amount of 62,746 unique Settlement Class Members. Additionally,

in an effort to ensure that Notices would be deliverable to Settlement Class Members, Kroll ran

the Class List through the USPS’s National Change of Address (“NCOA”) database and updated

the Class List with address changes received from the NCOA. Additionally, at the direction of

Counsel, Kroll ran the Class List through a deceased search and updated the records to reflect the


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deceased status for Settlement Class Members on the Class List. For records that were flagged as

deceased and at the direction of Counsel, Kroll addressed their Notices to “the estate of” the

deceased.

       6.      On February 23, 2024, Kroll created a dedicated Settlement Website entitled

www.healthletterpppasettlement.com. The Settlement Website “went live” on March 1, 2024, and

contains, among other things, information about the settlement, copies of the Settlement

Agreement, the long-form Notice, the Preliminary Approval Order, the exclusion form, the motion

for Service Awards and Fee Award, as well as contact information for the Settlement

Administrator, answers to frequently asked questions, important dates and deadlines, including the

Objection/Exclusion Deadline, the Claims Deadline, and the Final Approval Hearing date, and

provided Settlement Class Members with web-based forms for electing to receive Cash Awards

by electronic means and updating postal addresses to which Cash Awards should be sent after the

settlement becomes Final.

       7.      On February 23, 2024, Kroll established a toll-free telephone number, (833) 425-

9990, for Settlement Class Members to call and obtain additional information regarding the

settlement through an Interactive Voice Response (“IVR”) system with a voicemail set up that

allows callback from a live operator. As of May 14, 2024, the IVR system has received 220 calls.

       8.      On February 23, 2024, Kroll designated a post office box with the mailing address

Schreiber et al. v. Mayo Foundation, c/o Kroll Settlement Administration LLC, PO Box 5324,

New York, NY 10150-5324, in order to receive requests for exclusion and correspondence from

Settlement Class Members.

The Notice Program

       9.      On March 20, 2024, Kroll caused 62,746 Notices to be mailed via first-class mail.

A true and correct copy of the Notice, along with the long-form Notice and Claim Form, are

attached hereto as Exhibits C, D, and E, respectively.




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                                   NOTICE PROGRAM REACH

          10.     As of May 14, 2024, 240 Notices were returned by the USPS with a forwarding

address. Of those, 183 Notices were automatically re-mailed to the updated addresses provided

by the USPS. The remaining fifty-seven (57) Notices have been re-mailed by Kroll to the updated

address provided by the USPS.

          11.     As of May 14, 2024, 9,272 Notices were returned by the USPS as undeliverable as

addressed, without a forwarding address. Kroll ran 9,251 undeliverable records through an

advanced address search. The remaining twenty-one (21) Notices will be run through an advanced

address search. The advanced address search produced 5,878 updated addresses. Kroll has re-

mailed Notices to 5,878 updated addresses obtained from the advanced address search. Of the

5,878 re-mailed Notices, 988 have been returned as undeliverable a second time.

          12.     Based on the foregoing, following all Notice re-mailings, Kroll has reason to

believe that Notices likely reached 58,364 of the 62,746 persons to whom Notice was mailed,

which equates to a reach rate of the direct mail notice of approximately 93.02%. This reach rate

is consistent with other court-approved, best-practicable notice programs and Federal Judicial

Center Guidelines, which state that a notice plan that reaches2 over 70% of targeted class members

is considered a high percentage and the “norm” of a notice campaign.3 The table below provides

an overview of dissemination results for the direct notice program.




2
 FED. JUD. CTR., Judges’ Class Action Notice and Claims Process Checklist and Plain Language
Guide (2010), available at https://www.fjc.gov/sites/default/files/2012/NotCheck.pdf. The guide
suggests that the minimum threshold for adequate notice is 70%.
3
  Barbara Rothstein and Thomas Willging, Federal Judicial Center Managing Class Action
Litigation: A Pocket Guide for Judges, at 27 (3d Ed. 2010).


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                        Direct Notice Program Dissemination & Reach
                                                              Volume of             Percentage of
                                                              Settlement             Settlement
                          Description
                                                                 Class                  Class
                                                              Members                 Members
 Settlement Class Members                                       62,746                     100.0%
                                      Initial Notice Mailing
 (+) Notices Mailed (Initial Campaign)                          62,746                         100%
 (-) Total Notices returned as undeliverable                    (9,272)                      14.77%
                                  Supplemental Notice Mailing
 (+) Total Unique Notices Re-mailed                              5,878                        9.37%
 (-) Total Undeliverable (Re-Mailed) Notices                     (988)                        1.57%
                                  Direct Notice Program Reach
 (=) Received Direct Notice                                     58,364                       93.02%

                             EXCLUSIONS AND OBJECTIONS

       13.     The Objection/Exclusion Deadline was May 13, 2024.

       14.     Kroll has received fourteen (14) timely requests for exclusions. A list of the

exclusion requests received is attached hereto as Exhibit F. Settlement Class Members were not

instructed to submit their objection to the Settlement Administrator, and none have been received

by Kroll.

                                       CERTIFICATION

       I declare under penalty of perjury under the laws of the United States that the above is true
and correct to the best of my knowledge and that this declaration was executed on May 14, 2024,

in Inver Grove Heights, Minnesota.



                                                                SCOTT M. FENWICK




 DECL. OF SCOTT M. FENWICK OF KROLL SETTLEMENT
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                Exhibit A
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VIA U.S. MAIL

Date: February 23, 2024

To:        All “Appropriate” Federal and State Officials Per 28 U.S.C. § 1715
           (see attached service list)

           Re:         CAFA Notice for the proposed settlement in Schreiber et al. v. Mayo Foundation
                       for Medical Education and Research, Case No. 2:22-cv-00188-HYJ-RSK,
                       pending in the United State District Court for the Western District of Michigan


       Pursuant to Section 3 of the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C.
§ 1715, Defendant, Mayo Foundation for Medical Education and Research (“Defendant” or
“Mayo”) hereby notifies you of the proposed settlement of the above-captioned action (the
“Action”), currently pending in the United States District Court for the Western District of
Michigan (the “Court”).

       Eight items must be provided to you in connection with any proposed class action
settlement pursuant to 28 U.S.C. § 1715(b). Each of these items is addressed below, and all exhibits
are available for download at www.CAFANotice.com under the folder entitled Schreiber et al. v.
Mayo Foundation for Medical Education and Research:

           1.          28 U.S.C. § 1715(b)(l) – a copy of the complaint and any materials filed with the
                       complaint and any amended complaints.
                       The Class Action Complaint, First Amended Complaint, Second Amended
                       Complaint and Third Amended Complaint are available as Exhibit A, A1, A2, A3.

           2.          28 U.S.C. § 1715(b)(2) – notice of any scheduled judicial hearing in the class
                       action.
                       On February 16, 2024, Plaintiff filed a motion for preliminary approval of the class
                       action settlement, which was granted by Order dated February 21, 2024. The Court
                       has scheduled the Final Approval Hearing for this matter May 29, 2024. The
                       proposed Preliminary Approval Order is available as Exhibit B.

           3.          28 U.S.C. § 1715(b)(3) – any proposed or final notification to class members.
                       Copies of the proposed short form Notice, postcard Notice, long form Notice and
                       the Claim Form will be provided to Settlement Class Members and will be available
                       on the Settlement Website created for the administration of this matter. These are
                       available as Exhibits C, D, E and F respectively. The Notices describe, among

 Kroll Settlement Administration                 www.kroll.com/business-services
 2000 Market Street, Suite 2700
 Philadelphia, PA 19103
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                       other things, the claim submission process and the Settlement Class Members’
                       rights to object or exclude themselves from the Settlement Class.

           4.          28 U.S.C. § 1715(b)(4) – any proposed or final class action settlement.
                       The Settlement Agreement is available as Exhibit G.

           5.          28 U.S.C. § 1715(b)(5) – any settlement or other agreement contemporaneously
                       made between class counsel and counsel for defendants.
                       There are no other settlements or other agreements between Class Counsel and
                       Defendant’s Counsel beyond what is set forth in the Settlement Agreement.

           6.          28 U.S.C. § 1715(b)(6) – any final judgment or notice of dismissal.
                       The Court has not yet entered a Final Judgment or notice of dismissal. Accordingly,
                       no such document is presently available.

           7.          28 U.S.C. § 1715(b)(7) – (A) If feasible, the names of class members who reside in
                       each State and the estimated proportionate share of the claims of such members to
                       the entire settlement to that State’s appropriate State official; or (B) if the provision
                       of the information under subparagraph (A) is not feasible, a reasonable estimate of
                       the number of class members residing in each State and the estimated proportionate
                       share of the claims of such members to the entire settlement.
                       The definition of the Settlement Class in the proposed Settlement Agreement means
                       all Michigan direct purchasers of the Mayo Clinic Health Letter whose information
                       was included on the following lists obtained in discovery: MAY_Schreiber_000533
                       and MAYO_Schreiber_000519. As revealed in discovery, these lists
                       (MAYO_Schreiber_000533 and MAYO_Schreiber_000519) identify 62,746
                       Michigan direct purchasers of Mayo Clinic Health Letter whose Michigan
                       Subscriber Information was transmitted to third parties between June 16, 2016, and
                       July 30, 2016. Excluded from the Settlement Class are (1) any Judge or Magistrate
                       presiding over this Action and members of their families; (2) the Defendant,
                       Defendant’s subsidiaries, parent companies, successors, predecessors, and any
                       entity in which the Defendant or its parents have a controlling interest and their
                       current or former officers, directors, agents, attorneys, and employees; (3) persons
                       who properly execute and file a timely request for exclusion from the class; and
                       (4) the legal representatives, successors or assigns of any such excluded persons.
                       The names and addresses of all Persons who fall within the definition of the
                       Settlement Class are reflected on the Class List attached as Exhibit A.
                       The complete list and counts by state of Settlement Class Members is not known.

           8.          28 U.S.C. § 1715(b)(8) – any written judicial opinion relating to the materials
                       described in 28 U.S.C. § 1715(b) subparagraphs (3) through (6).
                       The Preliminary Approval Order is available as Exhibit H.




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        If you have any questions about this notice, the Action, or the materials available for
 download at www.CAFANotice.com under the folder entitled Schreiber et al. v. Mayo Foundation
 for Medical Education and Research, please contact the undersigned below.

                                              Respectfully submitted,

                                              T. Steven Smith
                                              Senior Manager
                                              T.Steven.Smith@kroll.com




  Kroll Settlement Administration       www.kroll.com/business-services
  2000 Market Street, Suite 2700
  Philadelphia, PA 19103
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                Exhibit B
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                                    CAFA NOTICE SERVICE LIST

 U.S. Attorney General
 Merrick B. Garland
 U.S. Department of Justice
 950 Pennsylvania Avenue NW
 Washington, D.C. 20530
 Michigan Attorney General
 Dana Nessel
 P.O. Box 30212
 525 W. Ottawa St.
 Lansing, MI 48909




  Kroll Settlement Administration          www.kroll.com/business-services
  2000 Market Street, Suite 2700
  Philadelphia, PA 19103
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                Exhibit C
    Settlement Administrator - 83020
e 2:22-cv-00188-HYJ-RSK                    ECF No. 75-5, PageID.4287               FiledFIRST-CLASS
                                                                                         05/15/24MAIL Pag
     c/o Kroll Settlement Administration                                                 U.S. POSTAGE PAID
     P.O. Box 5324
                                                   of 28                                       CITY, ST
     New York, NY 10150-5324                                                              PERMIT NO. XXXX

                       Electronic Service Requested



           COURT AUTHORIZED NOTICE                             <<Barcode>>
             OF CLASS ACTION AND                          Class Member ID: <<Refnum>>
            PROPOSED SETTLEMENT
                                                      Postal Service: Please do not mark or cover barcode


            By Order of the Court Dated:
                                                          <<Fullname>>
                 February 21, 2024
                                                          <<FirstName>> <<LastName>>
                                                          <<Address1>>
                                                          <<Address2>>
                                                          <<City>>, <<State>> <<Zip>>-<<zip4>>		
                                                      		
                                                           MAYO CLINIC HEALTH LETTER SETTLEMENT
e 2:22-cv-00188-HYJ-RSK
   Our records indicate you have subscribed to the Mayo  ECF Clinic No.     75-5,
                                                                    Health Letter  and mayPageID.4288
                                                                                              be entitled to a payment from Filed
                                                                                                                              a Class 05/15/24
                                                                                                                                       Action Settlement.   Pag
   A settlement has been reached in a class action lawsuit (hereinafter the “Settlement”)
                                                                             of   28       claiming that Defendant, Mayo Foundation for Medical Education and
   Research (“Mayo”), disclosed its customers’ subscription information to third parties, which is alleged to violate Michigan privacy law. While Mayo believes
     that its practices were in compliance with Michigan law, Mayo chose to settle this case, without admitting liability, to avoid additional legal fees
     and the time required to defend the lawsuit.
     Am I a Class Member? Our records indicate you are a Settlement Class Member. Settlement Class Members are direct purchasers of Mayo Clinic Health
     Letter whose information was included on the lists obtained in discovery that were transmitted to third parties between June 16, 2016 and July 30, 2016, and
     thus that have standing, which are reflected on the Class List, which can be found at www.healthletterpppasettlement.com.
     What Can I Get? If approved by the Court, a Settlement Fund of $52,500,000.00 has been established to pay all Cash Awards to the Settlement Class,
     together with notice and Settlement Administration Expenses, approved attorneys’ fees and costs to Class Counsel, and a service award to the Class
     Representatives. Once the Settlement becomes Final, you will receive a pro rata share of the Settlement Fund, which Class Counsel estimates will be
     approximately $540-$700 per Settlement Class Member, although the final amount you receive will also depend on the number of requests for exclusion
     submitted.
     How Do I Get a Payment? If you are a Settlement Class Member, you will automatically receive a pro rata share of the Settlement Fund, so long as you do not
     request to be excluded from the Settlement Class. Your payment will come by check and sent to the address that this postcard was mailed, as shown on the
     front this postcard. If you no longer reside at this address or are planning to change addresses prior to June 26, 2024, please complete and submit a change
     of address form accessible on the Settlement Website so that your check is sent to the correct address. If you wish to receive your payment via PayPal or
     Venmo, you may do so by submitting an election form on the Settlement Website.
     What are My Other Options? You may exclude yourself from the Class by mailing to the Settlement Administrator either a completed request for exclusion
     form found on the Settlement Website, or a letter stating your request to be excluded, postmarked no later than May 13, 2024. If you exclude yourself, you
     cannot get a settlement payment, but you keep any rights you may have to sue the Defendant over the legal issues in the lawsuit. You and/or your lawyer
     have the right to appear before the Court and/or object to the proposed settlement. Any written objection must be filed no later than May 13, 2024. Specific
     instructions about how to object to, or exclude yourself from, the Settlement are available at www.healthletterpppasettlement.com. If you do nothing, and
     the Court approves the Settlement, you will be bound by all of the Court’s orders and judgments. In addition, your claims relating to the alleged disclosure of
     subscriber information in this case against the Defendant and others will be released.
     Who Represents Me? The Court has appointed Frank S. Hedin and Arun G. Ravindran of Hedin LLP, E. Powell Miller of The Miller Law Firm, P.C., and Joseph
     I. Marchese and Philip L. Fraietta of Bursor & Fisher, P.A. to represent the class. These attorneys are called Class Counsel. You will not be charged for these
     lawyers. If you want to be represented by your own lawyer in this case, you may hire one at your expense.
     When Will the Court Consider the Proposed Settlement? The Court will hold the Final Approval Hearing at 9:00 AM on May 29, 2024 at 128
     Federal Bldg, 315 W Allegan St, Lansing MI 48933. At that hearing, the Court will: hear any objections concerning the fairness of the settlement;
     determine the fairness of the settlement; decide whether to approve Class Counsel’s request for attorneys’ fees and costs; and decide whether to award Class
     Representatives Jeffrey Schreiber a service award of $3,500; Richard Colony and Kay Vredeveld a service award of $2,500 each; and Michael Surnow a
     service award of $1,000 from the Settlement Fund for their services in helping to bring and settle this case. Defendant has agreed to pay Class Counsel
     reasonable attorneys’ fees in an amount to be determined by the Court. Class Counsel is entitled to seek no more than 35% of the Settlement Fund, but
     the Court may award less than this amount.
     How Do I Get More Information? For more information, including the full Notice, Claim Form, and Settlement Agreement go to
     www.healthletterpppasettlement.com, contact the Settlement Administrator by calling (833) 425 – 9990, or writing to Schreiber et al. v. Mayo
     Foundation, c/o Kroll Settlement Administration, PO Box 5324, New York, NY 10150-5324, or contact Class Counsel by calling 248-609-7331
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                                                                         Postage
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                           Settlement Administrtor - 83020
                           c/o Kroll Settlement Administration
                           P.O. Box 5324
                           New York, NY 10150-5324
      <<Barcode>>
e 2:22-cv-00188-HYJ-RSK              ECF No. 75-5, PageID.4290                       Filed 05/15/24      Pag
     ID Number: <<Refnum>>                   of 28
                                            Address Update
    If you have an address different from where this postcard was mailed to, please write your correct
         address and email below and return this portion to the address provided on the other side.

                     **THIS NOTICE IS NOT A CLAIM FORM**
    DO NOT USE THIS POSTCARD TO FILE A CLAIM, AN EXCLUSION OR OBJECTION.


     Name: 					                                          					
           First Name				                          M.I.   Last Name


     Street Address:									



     Street Address 2:										



     City: 					 State: ____ ____                             Zip Code: ____ ____ ____ ____ ____



     Email Address: 						@			
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                Exhibit D
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                  UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                    Schreiber et al. v. Mayo Foundation for Medical Education and Research,
                                         Case No. 2:22-cv-00188-HYJ-RSK

         A court authorized this Notice. You are not being sued. This is not a solicitation from a lawyer.

     A settlement (hereinafter “the Settlement” or “Settlement”) has been reached in a class action lawsuit against
      publisher Mayo Foundation for Medical Education and Research (“Mayo”). The class action lawsuit involves
      whether Mayo disclosed its customers’ subscription information to third parties, which is alleged to violate
      Michigan privacy law.

     While Mayo believes that its practices were in compliance with Michigan law, Mayo chose to settle this
      case, without admitting liability, to avoid additional legal fees and the time required to defend the
      lawsuit.

     You are included if you are a direct purchaser whose information was included on the lists obtained in
      discovery that were transmitted to third parties between June 16, 2016 and July 30, 2016, and thus that have
      standing, which are reflected on the Class List, which can be found at www.healthletterpppasettlement.com.
      Excluded from the Settlement Class are (1) any Judge or Magistrate presiding over this Action and members
      of their families; (2) the Defendant, Defendant’s subsidiaries, parent companies, successors, predecessors,
      and any entity in which the Defendant or its parents have a controlling interest and their current or former
      officers, directors, agents, attorneys, and employees; (3) persons who properly execute and file a timely
      request for exclusion from the class; and (4) the legal representatives, successors or assigns of any such
      excluded persons.

     Those included in the Settlement will be eligible to receive a pro rata (meaning equal) portion of the
      Settlement Fund, which Class Counsel for the Settlement Class (hereinafter “Class Counsel”) anticipates to
      be approximately $540-700.

     Read this Notice carefully. Your legal rights are affected whether you act, or don’t act.



               YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
    DO NOTHING   You will receive a pro rata share of the settlement benefits – estimated to be
                 approximately $540-$700 – and will give up your rights to sue the Defendant about the
                 claims in this case.

    EXCLUDE              You will receive no benefits, but you will retain any rights you currently have to sue the
    YOURSELF             Defendant about the claims in this case.

    OBJECT               Write to the Court explaining why you don’t like the Settlement.


    GO TO THE            Ask to speak in Court about your opinion of the Settlement.
    HEARING



             These rights and options—and the deadlines to exercise them—are explained in this Notice.



             Questions? Call (833) 425-9990 Toll Free, or Visit www.healthletterpppasettlement.com.
                                                        1
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                                             BASIC INFORMATION
 1. Why was this Notice issued?
A Court authorized this Notice because you have a right to know about the proposed Settlement of this class
action lawsuit and about all of your options, before the Court decides whether to give final approval to the
Settlement. This Notice explains the lawsuit, the Settlement, and your legal rights.
The Honorable Hala Y. Jarbou, of the U.S. District Court for the Western District of Michigan, is overseeing this
case. The case is called Schreiber et al. v. Mayo Foundation for Medical Education and Research, Case No. 2:22-
cv-00188-HYJ-RSK. The people who sued are called the Plaintiffs. The Defendant is Mayo Foundation for
Medical Education and Research.

 2. What is a class action?
In a class action, one or more people called class representatives (in this case, Jeffrey Schreiber, Richard Colony,
Kay Vredeveld, and Michael Surnow) sue on behalf of a group or a “class” of people who have similar claims.
In a class action, the court resolves the issues for all class members, except for those who exclude themselves
from the class.

 3. What is this lawsuit about?
This lawsuit claims that Defendant violated Michigan’s Preservation of Personal Privacy Act, H.B. 5331, 84th
Leg. Reg. Sess., P.A. No. 378 §§ 1-4, id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1 (Mich.
1989) (the “PPPA”), by disclosing information related to its customers’ magazine subscriptions to third parties
between June 16, 2016 and July 30, 2016. The Defendant denies it violated any law. The Court has not determined
who is right. Rather, the Parties have agreed to settle the lawsuit to avoid the uncertainties and expenses associated
with ongoing litigation.

 4. Why is there a Settlement?
The Court has not decided whether the Plaintiffs or the Defendant should win this case. Instead, both sides agreed
to the Settlement. That way, they avoid the uncertainties and expenses associated with ongoing litigation, and
Settlement Class Members will get compensation sooner rather than, if at all, after the completion of a trial.

                                 WHO’S INCLUDED IN THE SETTLEMENT?
 5. How do I know if I am in the Settlement Class?
The Court decided that everyone who fits the following description is a member of the Settlement Class:

The approximately 62,746 direct purchasers whose information was included on the lists obtained in discovery
that were transmitted to third parties between June 16, 2016 and July 30, 2016, and thus that have standing, which
are reflected on the Class List. If you are uncertain whether you are a Settlement Class Member, please contact
the Settlement Administrator by phone at (833) 425-9990 or email at info@healthletterpppasettlement.com to
find out whether you are included within the Settlement Class.

Excluded from the Settlement Class are (1) any Judge or Magistrate presiding over this Action and members of
their families; (2) the Defendant, Defendant’s subsidiaries, parent companies, successors, predecessors, and any
entity in which the Defendant or its parents have a controlling interest and their current or former officers,
directors, agents, attorneys, and employees; (3) persons who properly execute and file a timely request for
exclusion from the class; and (4) the legal representatives, successors or assigns of any such excluded persons.




            Questions? Call (833) 425-9990 Toll Free, or Visit www.healthletterpppasettlement.com.
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                                       THE SETTLEMENT BENEFITS

 6. What does the Settlement provide?
Monetary Relief: A Settlement Fund has been created totaling $52,500,000.00. Settlement Class Member
payments, the cost to administer the Settlement, the cost to inform people about the Settlement, attorneys’ fees
(inclusive of litigation costs), and awards to the Class Representatives will also come out of this fund (see
Question 12).
A detailed description of the settlement benefits can be found in the Class Action Settlement Agreement
(hereinafter “Settlement Agreement”), a copy of which is accessible on the Settlement Website by clicking here.

 7. How much will my payment be?
The amount of this payment will depend on how many requests for exclusion are submitted. Each Settlement
Class Member will receive a proportionate share of the Settlement Fund, which Class Counsel anticipates will be
approximately $540-$700. You can contact Class Counsel at (248) 609-7331 to inquire as to the number of
requests for exclusion that have been received to date.

 8. When will I get my payment?
The hearing to consider the fairness of the settlement is scheduled for May 29, 2024. If the Court approves the
Settlement, eligible Settlement Class Members will receive their payment 28 days after the Settlement has been
finally approved and/or after any appeals process is complete. The payment will be made in the form of a check,
and all checks will expire and become void 180 days after they are issued. Alternatively, you may request that
the payment is issued through PayPal or Venmo (see Question 9 below for further details).

                                          HOW TO GET BENEFITS
 9. How do I get a payment?
If you are a Settlement Class Member who received a Notice via postcard and you want to get a payment, do
nothing and you will automatically receive a pro rata share of the Settlement Fund, which Class Counsel
anticipates will be approximately $540-$700. Your check for a pro rata share of the Settlement Fund will be sent
to the postal address identified in the Notice you received. If you have changed addresses or are planning to
change addresses prior to June 26, 2024, please click here to complete and submit a change of address form on
the Settlement Website. If you wish to receive your payment via PayPal or Venmo, you may do so by submitting
the Election Form on the Settlement Website.
If you are a Settlement Class Member who did not receive a Notice via postcard and you want to get a payment,
you must complete and submit a Claim Form. You may submit a Claim Form either electronically on the
Settlement Website by clicking here, or by printing and mailing in a paper Claim Form, copies of which are
available for download here. Claim Forms must be submitted online by 11:59 p.m. EST on May 15, 2024 or
postmarked and mailed by May 15, 2024.

                                     REMAINING IN THE SETTLEMENT
 10. What am I giving up if I stay in the Settlement Class?
If the Settlement becomes final, you will give up your right to sue the Defendant and other Released Parties for
the claims being resolved by the Settlement. The specific claims you are giving up against the Defendant are
described in Section 1.26 of the Settlement Agreement, defined therein as the Released Claims. You will be
“releasing” the Defendant and certain of its affiliates, employees and representatives as described in Section 1.27



           Questions? Call (833) 425-9990 Toll Free, or Visit www.healthletterpppasettlement.com.
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of the Settlement Agreement. Unless you exclude yourself (see Question 13), you are “releasing” these
claims. The Settlement Agreement is available through the “Court Documents” link on the Settlement Website.
The Settlement Agreement describes the Released Claims with specific descriptions, so read it carefully. If you
have any questions you can talk to the lawyers listed in Question 11 for free or you can, of course, talk to your
own lawyer if you have questions about what this means.

                                   THE LAWYERS REPRESENTING YOU
 11. Do I have a lawyer in the case?
The Court has appointed Frank S. Hedin and Arun G. Ravindran of Hedin LLP, E. Powell Miller of The Miller
Law Firm, P.C., and Joseph I. Marchese and Philip L. Fraietta of Bursor & Fisher, P.A. to represent the class.
They are called “Class Counsel.” They believe, after conducting an extensive investigation, that the Settlement
Agreement is fair, reasonable, and in the best interests of the Settlement Class. You will not be charged for these
lawyers. If you want to be represented by your own lawyer in this case, you may hire one at your expense.

 12. How will the lawyers be paid?
The Defendant has agreed that Class Counsel attorneys’ fees and costs may be paid out of the Settlement Fund in
an amount to be determined by the Court. The fee petition will seek no more than 35% of the Settlement Fund,
inclusive of reimbursement of their costs and expenses; the Court may award less than this amount. Under the
Settlement Agreement, any amount awarded to Class Counsel will be paid out of the Settlement Fund.
Subject to approval by the Court, Defendant has agreed that Class Representatives Jeffrey Schreiber may be paid
a service award of $3,500; Richard Colony and Kay Vredeveld may be paid a service award of $2,500 each; and
Michael Surnow may be paid a service award of $1,000, for their services in helping to bring and resolve this
case.
                            EXCLUDING YOURSELF FROM THE SETTLEMENT
 13. How do I get out of the Settlement?
To exclude yourself from the Settlement, you must submit a request for exclusion by May 13, 2024. Requests for
exclusion may be submitted by either printing and completing the request for exclusion form found on the
Settlement Website (accessible here), or by mailing or otherwise delivering a letter (or your request for exclusion)
stating that you want to be excluded from the Schreiber et al. v. Mayo Foundation for Medical Education and
Research, Case No. 2:22-cv-00188-HYJ-RSK settlement. Your letter or request for exclusion must also include
your name, your address, the title of the publication(s) to which you subscribed, your signature, the name and
number of this case, and a statement that you wish to be excluded. If you choose to submit a request for exclusion,
you must mail or deliver your exclusion request, postmarked no later than May 13, 2024, to the following
address:
                                       Schreiber et al. v. Mayo Foundation
                                       c/o Kroll Settlement Administration
                                                  PO Box 5324
                                           New York, NY 10150-5324

 14. If I don’t exclude myself, can I sue the Defendant for the same thing later?
No. Unless you exclude yourself, you give up any right to sue the Defendant for the claims being resolved by this
Settlement.

 15. If I exclude myself, can I get anything from this Settlement?
No. If you exclude yourself, you will not receive a pro rata share of the Settlement Fund.


           Questions? Call (833) 425-9990 Toll Free, or Visit www.healthletterpppasettlement.com.
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                                     OBJECTING TO THE SETTLEMENT

 16. How do I object to the Settlement?
If you are a Settlement Class Member, you can object to the Settlement if you don’t like any part of it. You can
give reasons why you think the Court should not approve it. The Court will consider your views. To object, you
must file with the Court a letter or brief stating that you object to the Settlement in Schreiber et al. v. Mayo
Foundation for Medical Education and Research, Case No. 2:22-cv-00188-HYJ-RSK and identify all your
reasons for your objections (including citations and supporting evidence) and attach any materials you rely on for
your objections. Your letter or brief must also include your name, your address, the basis upon which you claim
to be a Settlement Class Member (including the title of the publication(s) which you purchased or to which you
subscribed), the name and contact information of any and all attorneys representing, advising, or in any way
assisting you in connection with your objection, and your signature. If you, or an attorney assisting you with your
objection, have ever objected to any class action settlement where you or the objecting attorney has asked for or
received payment in exchange for dismissal of the objection (or any related appeal) without modification to the
settlement, you must include a statement in your objection identifying each such case by full case caption. You
must also mail or deliver a copy of your letter or brief to Class Counsel and Defendant’s Counsel listed below.
Class Counsel will file with the Court and post on this Settlement Website its request for their Fee Award by
April 29, 2024.
If you want to appear and speak at the Final Approval Hearing to object to the settlement, with or without a lawyer
(explained below in answer to Question Number 20), you must say so in your letter or brief. File the objection
with the Court (or mail the objection to the Court) and mail a copy of the objection to Class Counsel and
Defendant’s Counsel, at the addresses below, postmarked no later than May 13, 2024.

              Court                          Class Counsel                      Defendant’s Counsel

  The Honorable Hala Y. Jarbou            E. Powell Miller                        Gregory Karpenko
    United States District Court      The Miller Law Firm, P.C.                Fredrikson & Byron P.A.
     for the Western District         950 W. University Drive,                     60 South 6th St.,
           of Michigan                         Ste 300                                 Ste. 1500
        138 Federal Bldg                Rochester, MI 48307                    Minneapolis, MN 55402
        315 W Allegan St
        Lansing MI 48933




 17. What’s the difference between objecting and excluding myself from the Settlement?
Objecting simply means telling the Court that you don’t like something about the Settlement. You can object
only if you stay in the Settlement Class. Excluding yourself from the Settlement Class is telling the Court that
you don’t want to be part of the Settlement Class. If you exclude yourself, you have no basis to object because
the case no longer affects you.


           Questions? Call (833) 425-9990 Toll Free, or Visit www.healthletterpppasettlement.com.
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                                THE COURT’S FINAL APPROVAL HEARING

 18. When and where will the Court decide whether to approve the Settlement?
The Court will hold the Final Approval Hearing at 9:00 AM on May 29, 2024 at the United States District Court
for the Western District of Michigan, located at 128 Federal Bldg, 315 W Allegan St, Lansing MI 48933. The
purpose of the hearing will be for the Court to determine whether to approve the Settlement as fair, reasonable,
adequate, and in the best interests of the Settlement Class; to consider the Class Counsel’s request for attorneys’
fees and expenses; and to consider the request for service awards to the Class Representatives. At that hearing,
the Court will be available to hear any objections and arguments concerning the fairness of the Settlement.
The hearing may be postponed to a different date or time without notice, so it is a good idea to check for updates
by visiting the Settlement Website at www.healthletterpppasettlement.com or calling (833) 425 - 9990. If,
however, you timely objected to the settlement and advised the Court that you intend to appear and speak at the
Final Approval Hearing, you will receive notice of any change in the date of the Final Approval Hearing.

 19. Do I have to come to the hearing?
No. Class Counsel will answer any questions the Court may have. But, you are welcome to come at your own
expense. If you send an objection or comment, you don’t have to come to Court to talk about it. As long as you
filed and mailed your written objection on time, the Court will consider it. You may also pay another lawyer to
attend, but it’s not required.

 20. May I speak at the hearing?
Yes. You may ask the Court for permission to speak at the Final Approval Hearing. To do so, you must include
in your letter or brief objecting to the settlement a statement saying that it is your “Notice of Intent to Appear in
Schreiber et al. v. Mayo Foundation for Medical Education and Research, Case No. 2:22-cv-00188-HYJ-RSK.”
It must include your name, address, telephone number and signature as well as the name and address of your
lawyer, if one is appearing for you. Your objection and notice of intent to appear must be filed with the Court
and postmarked no later than May 13, 2024, and be sent to the addresses listed in Question 16.

                                       GETTING MORE INFORMATION
 21. Where do I get more information?
This Notice summarizes the Settlement. More details are in the Settlement Agreement. You can get a copy of
the Settlement Agreement at www.healthletterpppasettlement.com. You may also write with questions to
Schreiber et al. v. Mayo Foundation, c/o Kroll Settlement Administration, PO Box 5324, New York, NY 10150-
5324. You can call the Settlement Administrator at (833) 425-9990 or Class Counsel at 248-609-7331, if you
have any questions. Before doing so, however, please read this full Notice carefully. You may also find additional
information elsewhere on the Settlement Website.




           Questions? Call (833) 425-9990 Toll Free, or Visit www.healthletterpppasettlement.com.
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                Exhibit E
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                                 Case No. 2:22-cv-00188-HYJ-RSK (W.D. Mich.)
                          CLAIM FORM FOR UNIDENTIFIED CLASS MEMBERS
This Claim Form may be submitted online at www.healthletterpppasettlement.com or completed and mailed to the address
below. Submit your completed Claim Form online or mail it so it is postmarked no later than May 15, 2024. If you received
a Notice by mail, you do NOT need to submit a Claim Form, and your Cash Award will be sent to you by check at the
address identified on the Notice once the Settlement is finally approved. If your address has changed, please submit a change
of address form online at www.healthletterpppasettlement.com to ensure your check is mailed to your current address.
I. CLAIMANT INFORMATION (all fields required)
The Settlement Administrator will use this information for communications and payments. If this information changes
before settlement payments are issued, contact the Settlement Administrator at the address below.

_________________________________________ ____ __________________________________________
First Name                                                  M.I.   Last Name

____________________________________________________________________________________________________________
Current Mailing Address, Line 1: Street Address/P.O. Box

____________________________________________________________________________________________________________
Current Mailing Address, Line 2

___________________________________________________________            _____ _____    _____ _____ _____ _____ _____
City                                                                      State                    Zip Code

Preferred Telephone Number: (____ ____ ____) - ____ ____ ____ - ____ ____ ____ ____

Preferred Email address: ___________________________________________@_________________________________

II. CLAIM INFORMATION
Mailing address at which you received your subscription between June 16, 2016 and July 30, 2016:

____________________________________________________________________________________________________________
Mailing Address, Line 1: Street Address/P.O. Box

____________________________________________________________________________________________________________
Mailing Address, Line 2

___________________________________________________________            _____ _____    _____ _____ _____ _____ _____
City                                                                      State                    Zip Code

III. PREFERRED PAYMENT METHOD
If you would like to receive an electronic payment, please submit your claim online at www.healthletterpppasettlement.com.
IV. SIGNATURE: Sign and date the Claim Form below.

Signed:________________________________________________                  Date: ____ ____/ ____ ___/ ____ ____ ____ ____

          Submit this Claim Form online or mail it to the address below postmarked no later than May 15, 2024.
                                           Schreiber et al. v. Mayo Foundation
                                           c/o Kroll Settlement Administration
                                                      PO Box 5324
                                               New York, NY 10150-5324

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                Exhibit F
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                      Exclusion List
Count        Claimant Name         Record Identification Number
  1       BARBARA SENNETT               8302052GM1MMP
  2       BERNICE LAKATOS                830204GV098NR
  3          FOSTER GIBBS                8302032W5S65M
  4         KAREN BEATTIE                830203TPTTSP8
  5          LEONA DUBIEL                830203G0KRSG0
  6           LYLE LAYLIN               830203CHB9NND
  7           MARK NEAR                  830203DFPVPX9
  8        MARY SCHIMMEL                  830204S5M32JS
  9        MILDRED CASPER                830204Z2XTXQ2
 10         RAYMOND BAUR                 830203RJRP0N1
 11         ROSE LAMBERTZ                8302046GJZ3SX
 12       SHIRLEY DEKOSTER               830203KCXH9Z6
 13        ELEANOR KERRAN               830203HR4WVKK
 14       GEORGE MARCERO                 830204XF8PVSJ
